                          Case 1:08-cv-00016 Document 38 Filed 11/25/08 Page 1 of 2




                                                                                           F I LEO
                                                                                                Clerk
                                                                                           DistriCt Court
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                                                                                          NOV   2~:'    20Ctd
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                                                                                 for "fhe Northern Mariana Islands
                4                                                                   By:;....._:::.___::-:-:--­
                                                                                           (Deputy Cle~
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                6
                                        IN THE UNITED STATES DISTRICT COURT
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                                        FOR THE NORTHERN MARIANA ISLANDS

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                    .MOHAMMED KAMAL HOSSAIN, )                    Civil Action No. 08-0016
               11                            )
                                Plaintiff    )
               12
                                             )                    ORDER GRANTING
               13                  v.                      )      PLAINTIFF'S ATTORNEY'S
                                                           )      MOTION TO WITHDRAW AS
               14
                    COMrvl0NWEALTH OF THE      )                  COUNSEL OF RECORD
               15   NORTHERN M.ARIANA ISLANDS, )
                    et ai.,                    )
               16
                                               )
               17               Defendant      )
               18   -----------------------)
               19         THE COURT has before it the motion of Omar Calimbas of Micronesian
               20
                    Legal Services Corporation to withdraw as attorney of record for plaintiff. The court
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                    has reviewed the motion and finds it well-taken. Accordingly,
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A072
(Rev. 08/82)
                           Case 1:08-cv-00016 Document 38 Filed 11/25/08 Page 2 of 2




                          IT IS ORDERED that 1\lr. Calimbas be and hereby is allowed to withdraw as
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                    attorney of record for plaintiff, effective immediately.
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                          DATED this 25th day of November, 2008.

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                                                                       .ALEX R. J. NSON
                9                                                           Judge
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(Rev. 08182)                                                    2
